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                           UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

City of Beaufort, et al.,                    )
                                             )               No.: 2:18-cv-03326-RMG
                   Plaintiffs,               )         (Consolidated with 2:18-cv-3327-RMG)
                                             )
v.                                           )            MOTION FOR LEAVE TO FILE
                                             )                 THIS RESPONSE
NATIONAL MARINE FISHERIES                    )
SERVICE, et al.,                             )        TO DEFENDANTS’ SUPPLEMENTAL
                                             )               REPLY IN SUPPORT
                   Defendants.               )                OF MOTION TO
                                             )          STAY DEADLINE TO RESPOND
_____________________________________ )                TO MOTION TO INTERVENE OF
                                             )             STATE EX REL WILSON
South Carolina Coastal Conservation League, )
et al,                                       )             IN CITY OF BEAUFORT v.
                                             )           NATIONAL MARINE FISHERIES
                   Plaintiffs,               )                    SERVICE
                                             )
v.                                           )
                                             )
Wilbur Ross, in his official capacity as the )
Secretary of Commerce; et al.,               )

                    Defendants.



        The State ex rel Atty General Wilson respectfully moves for leave of Court to submit this

response to Defendants’ Supplemental Reply. The Defendants’ Supplemental Reply fails to

provide any reason sufficient to stay the response time to the State’s Motion to Intervene.


        The Defendants’ reliance on the Bureau of Ocean Energy Management’s agreement not

to make a final permit decision on seismic testing before March 1, 2019, is patently inadequate.

March 1 is just six weeks from today. Defendants want a stay until Department of Justice

attorneys are permitted to resume their usual civil litigation functions, a date that is uncertain to

the extent that it is tied to the restoration of funding. With the resumption of funding uncertain,
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the possibility most certainly exists that DOJ lawyers would not be responding to the Motion to

Intervene until shortly before or even after the March 1 deadline expires. Permits could be

issued before the Defendants’ respond or before the State has had the opportunity to reply to

such a response. Time would then be needed for a ruling by the Court on the State’s Motion to

Intervene. Meanwhile, the clock would be running on the 30 days’ notice requirement for

permittees to begin seismic testing. (Cruickshank declaration at ¶9, ECF 72-1). As a result of

this timing, the State, if allowed to intervene, could be left with little or no time to seek

preliminary injunctive relief against the testing or to be heard regarding another party’s motion.


       The Defendants’ filings regarding their Motion to Stay have already probably taken more

of their time than a response to the Motion to Intervene would take. When they can address their

Motion to Stay, they can address the State’s Motion to Intervene. When BOEM is working,

Department of Justice attorneys for the Defendants should be made available to the Courts also.

The State of South Carolina and this Court should not have to wait on a response to the Motion

to Intervene under these circumstances.


       As an adjacent landowner to the United States, the State of South Carolina has important

interests to protect in this litigation. With the prospect of Federal action in six weeks adverse to

the State, the Federal Defendants should be directed to respond in no later than 14 days to the

Motion to Intervene so that the State can participate fully in this litigation.


                                                       Respectfully submitted,
                                                       ALAN WILSON
                                                       Attorney General
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                                                       [Signature block continues next page]



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January 18, 2019                           Counsel for the State ex rel Wilson




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